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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

EDWARD MICHAEL STRAUSS,                )
                                       )
             Plaintiff,                )
                                       )
             v.                        )      No. 2:19 CV 28
                                       )
GARY INDIANA POLICE                    )
DEPARTMENT, et al.,                    )
                                       )
             Defendants.               )

                                     ORDER

      As no objections have been filed with respect to the report and recommendation

of Magistrate Judge John E. Martin dated October 1, 2020, the court now ADOPTS that

report and recommendation (DE # 78), and DISMISSES the claims against defendant

Broad Ridge LLC without prejudice for lack of service.

                                       SO ORDERED.

      Date: October 16, 2020
                                        s/James T. Moody
                                       JUDGE JAMES T. MOODY
                                       UNITED STATES DISTRICT COURT
